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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


Quintin Keene                         ,

                              Plaintiff,                        STIPULATION
                                                           SELECTION OF MEDIATOR
              v.
                                                                    17-cv-6708
City of Rochester, et al.            ,

                              Defendant.



       IT HEREBY IS STIPULATED AND AGREED, by and between counsel for all parties

to this action, that Patrick Solomon        , Esq. has been selected, contacted and has

agreed to serve as Mediator for this action.

       IT IS FURTHER STIPULATED AND AGREED, in consultation with the Mediator,

that the initial mediation session will be held on   7-31-18   at 10:00 a.m.          .

       IT IS FURTHER STIPULATED AND AGREED that counsel will participate in the

mediation session in good faith and confer with the Mediator regarding the scheduling of

additional conference(s), bearing in mind the deadline for the completion of ADR set forth

in the Court’s Scheduling Order.

Dated: 6/22/2018



     ~//s//~
___________________________                           ~//s//~
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   Counsel for Plaintiff(s)                        Counsel for Defendant(s)




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